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           [ORAL ARGUMENT HELD DECEMBER 7, 2020]
                    Nos. 22-5069, 22-7030, 22-7031
 _________________________________________________________________

               UNITED STATES COURT OF APPEALS
             FOR THE DISTRICT OF COLUMBIA CIRCUIT
                        _________________________________________


             JAMES BLASSINGAME AND SIDNEY HEMBY

                                     Appellees,

                                           v.

                             DONALD J. TRUMP

                                     Appellant,
                        _________________________________________


                 REPRESENTATIVE ERIC SWALWELL

                                     Appellee,

                                           v.

                         DONALD J. TRUMP, et al

                                    Appellants,
                        _________________________________________


                     HON. BENNIE G. THOMPSON, et al.

                                     Appellees,

                                           v.

                         DONALD J. TRUMP, et al.

                                    Appellants.
                        _________________________________________


               SUPPLEMENTAL BRIEF OF APPELLEES
                        _________________________________________
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*After Congressman Thompson withdrew from this action, the district court
referred to the remaining Plaintiffs as the “Bass Plaintiffs.” JA 214-15.
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      Plaintiffs-Appellees (“Plaintiffs”) respectfully submit this supplemental brief

in response to the brief filed by the U.S. Department of Justice on behalf of the

Executive Branch (“the United States”). Plaintiffs agree with the United States that

this Court should reject former President Trump’s categorical claim of presidential

immunity for all presidential speech on matters of public concern and that the former

President cannot claim immunity for his incitement of imminent private violence on

January 6, 2021. For the reasons explained below, however, Plaintiffs urge this

Court not to resolve the immunity question solely on the extremely narrow grounds

advanced by the United States. Although it is understandable that the Executive

Branch would advance a sweeping definition of presidential immunity, the position

of the United States is inadequate in two respects. First, it does not fully align with

the presidential immunity principles set forth by the Supreme Court. Second, it does

not provide a basis for resolving the immunity question with respect to the full range

of conduct by former President Trump that is before the Court.

I.    The United States Is Correct That A President Cannot Claim Immunity
      For Incitement Of Imminent Private Violence.

      1. The United States urges this Court to resolve this appeal by “rejecting the

former President’s categorical position and holding that a President’s speech on a

matter of public concern is not protected by absolute immunity if it constitutes

incitement to imminent private violence.” U.S. Br. 21. In doing so, the United States

makes a number of plainly correct statements that bear upon the proper resolution of

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the immunity issue before this Court. For example, the United States is correct that,

“although courts should be reluctant to conclude that a suit against the President is

based on conduct that lies beyond the outer perimeter of his Office, . . . a meaningful

perimeter exists.” Id. at 2. The United States is also correct that Nixon v. Fitzgerald,

457 U.S. 731 (1982), does not set forth “a rule of absolute immunity for the President

regardless of the nature of his acts.” U.S. Br. 2. And the United States is correct

that the “single, categorical argument” that former President Trump has pressed on

appeal—that a “President is always immune from any civil suits based on his ‘speech

on matters of public concern,’” id. at 3 (quoting Trump Br. 7)—would unjustifiably

expand presidential immunity to encompass behavior that bears no relation to a

president’s “discharge of his official duties,” Nixon, 457 U.S. at 752 n.32. Most

importantly, the United States is correct that a president cannot claim that incitement

of imminent private violence should be immune from civil liability. 1

      2. Although correct so far as it goes, the position of the United States does

not go far enough. The United States treats as self-evident the conclusion that “[n]o

part of a President’s official responsibilities includes the incitement of imminent

private violence,” and asserts that “[b]y definition such conduct plainly falls outside

1
  The parties fully litigated the plausibility of the incitement allegations below in the
context of former President Trump’s claimed First Amendment defense. Applying
the same standard that the United States now proposes should govern former
President Trump’s claim of presidential immunity, the district court found Plaintiffs’
allegations of incitement plausible. See JA293-99.

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the President’s constitutional and statutory duties.” U.S. Br. 16. But the reason

those points are so plainly correct is rooted in the separation-of-powers analysis the

Supreme Court prescribed in Nixon and in Clinton v. Jones, 520 U.S. 681 (1997).

Those decisions instruct that the outer perimeter of immune presidential activity is

determined by reference to a president’s official responsibilities, as the point of

immunity is to ensure that presidents can discharge those responsibilities undeterred

by the risk of civil liability. See Nixon, 457 U.S. at 755 (stating that “the sphere of

protected action” must “be related closely to the immunity’s justifying purposes”).

Those official responsibilities are, in turn, defined by the Constitution and federal

statutes. Thus, the grant of immunity in Nixon was predicated on the president’s

exercise of “constitutional and statutory authority to prescribe the manner in which

the Secretary will conduct the business of the Air Force.” Id. at 757 (emphasis

added). And the denial of immunity in Clinton was predicated on the absence of any

connection between the challenged conduct and the exercise of any constitutional or

statutory authority of the presidency. 520 U.S. at 694.

      3. Plaintiffs acknowledge the United States’ point that as a matter of history,

if not constitutional or statutory authority, a president will inevitably speak on a wide

range of matters of public concern. See U.S. Br. 12. Plaintiffs likewise acknowledge

that such speech can address matters as to which the president bears no constitutional

or statutory responsibility. See id. And Plaintiffs recognize that the Executive


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Branch has a powerful interest in an expansive definition of presidential immunity.

See id. at 3.

       But those considerations do not justify adopting the most extreme version of

the United States’ position, see id. at 15, which could be understood to immunize

almost all presidential speech on matters of public concern irrespective of its

connection to the “particular functions of [the] office,” Clinton, 520 U.S. at 694.

Adopting the United States’ apparent view that the scope of a president’s official

responsibilities includes virtually all presidential public communications would

expand immunity substantially beyond the outer perimeter defined in Nixon and

Clinton—and would replace the standard articulated by the Supreme Court with an

amorphous, malleable appeal to the ever-evolving traditions of the presidency.

Neither Nixon nor Clinton suggests that presidential actions not involving any

exercise of the president’s “constitutional and statutory authority,” Nixon, 457 U.S.

at 757, should be immune from civil liability. To be sure, much presidential speech

on matters of public concern will bear a connection to the president’s constitutional

and statutory responsibilities, and thus will be encompassed within the definition of

immunity set forth in Nixon and Clinton. But a blanket presumption of immunity

for virtually all presidential speech on matters of public concern is unwarranted, and

this Court should not adopt one here. There is no reason to think—and, as in Clinton,

the Executive Branch has not made a persuasive showing—that such sweeping


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immunity is necessary to ensure that a president can discharge the responsibilities of

the office effectively. See infra p. 10-11.

      4. Plaintiffs agree that this Court need not articulate a comprehensive test for

determining when presidential speech on matters of public concern is immune from

civil liability. But Plaintiffs do not think that it suffices merely to conclude that

“[n]o part of a President’s official responsibilities includes the incitement of

imminent private violence,” and leave it at that. U.S. Br. 16. Former President

Trump’s speech on January 6 addressed a matter of public concern: the certification

of a presidential election. Because the United States argues that “vast” amounts of

presidential speech on matters of public concern would likely fall within the outer

perimeter of the responsibilities of the office, id. at 15, there must be a reason why

Trump’s speech—and incitement of violence by a president more generally—falls

beyond that perimeter (though the United States does not provide one). In Plaintiffs’

judgment, that rationale is necessarily grounded in the conjunction of two

fundamental points that Plaintiffs have advanced: (1) the conduct of former

President Trump at issue in this case, including the January 6 speech, lacked any

connection to the constitutional or statutory responsibilities of the presidency; (2)

and it constituted an effort to prevent Congress from carrying out a constitutional

responsibility (certification of the presidential election) from which the Constitution

excludes the sitting president. Whether either of those two considerations alone


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would justify denying immunity, their combined presence here makes clear that

immunity is unwarranted.

      In some respects, the United States appears to acknowledge the force of that

rationale. For example, the government’s focus on “private” violence recognizes

that the actions at issue do not involve any invocation of or use by former President

Trump of any power of the Executive Branch, and thus do not involve any exercise

of a constitutional or statutory authority of the presidency. The United States thus

appears to agree that the present case is unlike Nixon in that the complaint does not

allege that the president unlawfully exercised authority he otherwise possesses.

Because no exercise of a presidential power is at issue here, allowing Plaintiffs’

claims to go forward poses no risk of chilling presidential “acts in performance of

particular functions of [the] office.” Clinton, 520 U.S. at 694.

      But the United States appears to disagree with Plaintiffs about the relevance

of the fact that former President Trump sought to obstruct the exercise of a

constitutional responsibility exclusively assigned to Congress. That disagreement—

which is based on an apparent misunderstanding of Plaintiffs’ argument—is

misplaced. Plaintiffs do not contend that “any conduct by the President concerning

the certification of presidential election results necessarily falls outside the immunity

recognized in Nixon” because it concerns “functions that the Constitution assigns

exclusively to another Branch.” U.S. Br. 10. The United States is surely correct that


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the Constitution’s separation of powers rests on the assumption that “the Branches

will check each other,” id., and that a president will inevitably seek to persuade

Congress and the Judiciary to exercise their constitutional powers in his preferred

manner, including by seeking to persuade the public.

      But what is at issue here is obstruction, not persuasion. Former President

Trump directed his followers to prevent Congress from carrying out its constitutional

duty to certify the 2020 presidential election. When the Constitution assigns a

particular function—like certifying presidential election results—exclusively to

Congress and not the president, obstructing that function necessarily falls outside the

outer perimeter of the president’s constitutional authority. No separation-of-powers

values would be threatened by denying immunity to such conduct. To the contrary,

subjecting former President Trump to suit for his conduct advances the separation

of powers by making clear to future presidents that they can be held accountable for

conspiring to prevent Congress from carrying out its constitutional responsibility to

certify the results of a presidential election—a responsibility that is essential to our

Constitution’s system of governance and to the peaceful transfer of power.

      For those reasons, although Plaintiffs welcome the United States’ conclusion

that the district court’s decision should be affirmed, Plaintiffs urge this Court to

ground that conclusion in the principles Plaintiffs have advanced rather than solely

on the United States’ narrower rationale.


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II.   Granting Presidential Immunity Would Be Inappropriate Even Absent
      Allegations That President Trump Incited Imminent Private Violence.

      For two additional reasons, the United States’ proposed immunity test is

insufficient to fully resolve the issues before this Court. First, there is no evident

reason why Plaintiffs should have to demonstrate a threat of “imminent” or “violent”

action to defeat former President Trump’s claim of immunity. Neither of those

requirements, which are drawn from the First Amendment’s “clear and present

danger” test, properly bear on whether former President Trump’s actions fall within

the outer perimeter of presidential responsibility. Second, former President Trump’s

alleged misconduct involved some conduct other than speech to the public.

      A.     Presidential speech on a matter of public concern may fall beyond
             the outer perimeter of a president’s official responsibilities even if
             that speech does not incite imminent private violence.

      1. As an initial matter, there is no evident reason why the “imminence”

requirement of the First Amendment “clear and present danger” test should be

imported into the very different context of presidential immunity. The imminence

requirement in First Amendment law reflects the idea that because counter-speech,

rather than government intervention, is the preferred response to speech urging an

audience to take unlawful or disruptive action, the government should yield if there

is sufficient time for counter-speech to occur. See, e.g., Whitney v. California, 274

U.S. 357, 377 (1927) (Brandeis, J., concurring). But that rationale has no bearing

on presidential immunity. A president who calmly instructs his followers on

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December 15 to gather at the U.S. Capitol on January 6 to deploy violence to obstruct

Congress’s certification of electoral results is acting just as far beyond the outer

perimeter of a president’s “official responsibility,” Nixon, 457 U.S. at 756, as a

president who exhorts an excited crowd to do the same thing on the morning of

January 6 itself. The reason such speech—on any date—lies beyond the outer

perimeter of presidential responsibility has nothing to do with whether counter-

speech might persuade the president’s followers to stand down. Such presidential

speech has no claim to immunity because a president has no business instructing his

supporters at any time to obstruct Congress’s efforts to fulfill its certification

responsibilities.

      By the same token, there is no evident reason why a president who exhorts his

followers to obstruct Congress’s certification of a presidential election is acting

within the outer limits of his “official responsibility” so long as the obstructive action

does not involve private violence. A president’s exhortation to a crowd of followers

to block all roadways to the Capitol on January 6 or forge electoral college ballots

could prevent Congress from carrying out its constitutional responsibilities, even

absent any violent action on the part of those followers. But an exhortation of that

kind bears no more connection to a president’s official responsibilities than does a

president’s exhortation to use violence to accomplish the same end. Urging private

citizens to use any means that obstruct Congress from carrying out its constitutional


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duty to certify a presidential election—a procedure the Framers expressly placed

beyond presidential reach—bears no connection to any presidential responsibility.

      The lack of any connection to a president’s constitutional or statutory

responsibilities and the obstruction of Congress’s exclusive, constitutionally

assigned duty are the reasons why a president would not be entitled to immunity for

such speech. And those reasons are present whether or not the action urged by the

president involves violence.

      2. The United States suggests that borrowing the First Amendment incitement

standard is necessary to guard against an undue “chill [of] legitimate presidential

communication” and civil “suits that would be burdensome and intrusive even if

they ultimately proved meritless.” U.S. Br. 17. That contention is unpersuasive.

      It is certainly true that “Presidents routinely address controversial issues that

are the subject of passionate feelings” and that “Presidents may at times use strong

rhetoric” that prompts listeners to “overreact, or even respond with violence.” U.S.

Br. 17. For those and other reasons discussed above, Plaintiffs agree that this Court

should not attempt to articulate a single, universally applicable standard for

determining when presidential speech on a matter of public concern is or is not

immune.

      But those considerations do not justify the use of the First Amendment

incitement standard to define the boundaries of presidential authority. It is difficult


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to imagine what realistic risk of chilling any appropriate function of the presidency

would result from a ruling that a president does not enjoy immunity for urging

private citizens to take actions (violent or not, imminent or not) that obstruct

Congress from certifying a presidential election. The prospect that civil suits might

prove burdensome even if ultimately unmeritorious—which appears to be at the core

of the United States’ concern—does not itself justify immunity, as the Supreme

Court unanimously held in Clinton. See 520 U.S. at 708-09 (“Most frivolous and

vexatious litigation is terminated at the pleading stage or on summary judgment,

with little if any personal involvement by the defendant. Moreover, the availability

of sanctions provides a significant deterrent to litigation directed at the President in

his unofficial capacity for purposes of political gain or harassment. History indicates

that the likelihood that a significant number of such cases will be filed is remote.”).

      The purpose of immunity is to ensure that the responsibilities of the office can

be discharged effectively, not to protect the person who holds the office from any

threat of liability. See Clinton, 520 U.S. at 708-09. The United States simply has

not advanced a persuasive case for drawing the immunity line at incitement of

imminent private violence.




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      B.     The United States’ proposed test does not address the complaints’
             allegations that former President Trump took actions that did not
             directly involve speech to the public on matter of public concern.

      The United States’ approach is insufficient for another reason. Plaintiffs’

allegations against former President Trump involve some conduct other than speech

to the public on matters of public concern. See, e.g., JA153, JA159. For example,

the complaints allege that former President Trump conspired with the Proud Boys,

the Oath Keepers, and other extremist groups to prevent Congress from certifying

presidential election results. See JA155-57.

      Even if one were to agree with the United States’ overbroad position that most

presidential speech on matters of public concern should, based on historical practice,

be deemed within the outer perimeter of presidential responsibility, see U.S. Br. 16,

conspiratorial activity with private actors of the kind alleged in the complaint goes

well beyond speech to the public. In a similar vein, the allegations that former

President Trump and his campaign organized and paid for the event that occurred on

the morning of January 6 do not involve communications to the public. See JA159.

None of those additional actions has any connection to a president’s constitutional

or statutory responsibilities, or even to a president’s historical communicator-in-

chief role. And those actions raise the same separation-of-powers concerns about

obstructing Congress from fulfilling its constitutional duty to certify the results of




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the 2020 presidential election as does former President Trump’s speech to an

agitated crowd on January 6.

                                CONCLUSION

      The district court’s immunity decision should be affirmed.

Dated: March 23, 2023                 Respectfully submitted,

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                 CERTIFICATE OF COMPLIANCE
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I hereby certify as follows:

   1. This brief complies with the Court’s December 20, 2022 Order because it

      contains 2,941 words, excluding the parts of the brief exempted by Federal

      Rule of Appellate Procedure 32(a)(7)(B)(iii);

   2. This brief complies with the typeface requirements of Federal Rule of

      Appellate Procedure 32(a)(5) and the type style requirements of Federal Rule

      of Appellate Procedure 32(a)(6) because it has been prepared in a

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Dated: March 23, 2023                             /s/ Donald B. Verrilli, Jr.
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      I hereby certify that on March 23, 2023, I electronically filed the foregoing

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      I certify that all participants in the case are registered CM/ECF users and

that service will be accomplished by the appellate CM/ECF system.

                                              /s/ Donald B. Verrilli, Jr.
                                              Donald B. Verrilli, Jr.




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